          Case 1:23-cr-00108-TSC Document 10 Filed 04/03/23 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                                             CRIMINAL CASE NO.
 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    :
                                                             MAGISTRATE CASE NO. 23-mj-32
                                                 :
 MICHAEL JOHN DILLON                             :
                                                 :
                                                             VIOLATIONS:
                          Defendant.             :
                                                             18 U.S.C. § 1752(a)(1)
                                                 :
                                                             (Entering and Remaining in a Restricted
                                                 :
                                                             Building or Grounds)
                                                 :
                                                             18 U.S.C. § 1752(a)(2)
                                                 :
                                                             (Disorderly and Disruptive Conduct in a
                                                 :
                                                             Restricted Building or Grounds)
                                                 :
                                                             40 U.S.C. § 5104(e)(2)(D)
                                                 :
                                                             (Disorderly Conduct in a Capitol
                                                 :
                                                             Building or Grounds)
                                                 :
                                                             40 U.S.C. § 5104(e)(2)(G)
                                                 :
                                                             (Parading, Demonstrating, or Picketing in
                                                 :
                                                             a Capitol Building)

                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, MICHAEL JOHN DILLON did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))
            Case 1:23-cr-00108-TSC Document 10 Filed 04/03/23 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, MICHAEL JOHN DILLON did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, MICHAEL JOHN DILLON

willfully and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, MICHAEL JOHN DILLON

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))


                                                 2
Case 1:23-cr-00108-TSC Document 10 Filed 04/03/23 Page 3 of 3




                                  Respectfully submitted,

                                  MATTHEW M. GRAVES
                                  United States Attorney
                                  D.C. Bar No. 481052


                             By: /s/ Michael L. Barclay
                                 Michael L. Barclay
                                 Member of New York Bar
                                 Assistant United States Attorney
                                 United States Attorney’s Office for the
                                 District of Columbia
                                 601 D Street, NW
                                 Washington, DC 20530




                              3
